                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

DR. DAVID L. BROUILLETTE, D.C., S.C.,                )
on behalf of plaintiff and the class defined         )
below,                                               )
                                                     )
                      Plaintiff,                     )       2:16-cv-174
                                                     )
               vs.                                   )
                                                     )
SIGMA INSTRUMENTS, INC.,                             )
and JOHN DOES 1-10,                                  )
                                                     )
                      Defendants.                    )

                                    NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Dr. David L. Brouillette, D.C., S.C.

voluntarily dismisses its individual claims without prejudice and without costs against defendant

Sigma Instruments, Inc. Plaintiff Dr. David L. Brouillette, D.C., S.C. voluntarily dismisses its

class claims against defendant Sigma Instruments, Inc. without prejudice and without costs.

Plaintiff Dr. David L. Brouillette, D.C., S.C. voluntarily dismisses its claims against John Does

1-10 without prejudice and without costs.

                                             Respectfully submitted,

                                             s/ Heather Kolbus
                                             Heather Kolbus

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                                CERTIFICATE OF SERVICE

        I, Heather Kolbus, certify that on February 16, 2016, I caused a true and accurate copy of
the foregoing document to be served, via US Mail, on the following parties:

       Sigma Instruments, Inc.
       506 Thompson Park Dr.
       Cranberry, Pennsylvania 16066



                                             s/ Heather Kolbus
                                             Heather Kolbus




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